                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 NORTH CAROLINA DEMOCRATIC                   )
 PARTY, et al.,                              )
                                             )
                      Plaintiffs,            )
                                             )
               v.                            )                 1:17-CV-1113
                                             )
 PHILLIP BERGER, et al.,                     )
                                             )
                      Defendants.            )


                       TRIAL FINDINGS AND CONCLUSIONS

Catherine C. Eagles, District Judge


 I.    PROCEDURAL HISTORY

1. On December 12, 2017, the plaintiffs filed their complaint, challenging the

   constitutionality of Section 4(a) of S.L. 2017-214, which cancelled primaries for

   judicial elections in 2018 and seeking declaratory and injunctive relief. Doc. 2. All

   parties agree that this is a facial challenge to the law.

2. On January 31, 2018, this Court granted the plaintiffs’ motion for preliminary

   injunction in part, enjoining enforcement of S.L. 214 as to appellate judicial races

   pending final resolution of the case. Doc. 45.

3. The defendants appealed to the United States Court of Appeals for the Fourth Circuit,

   which vacated the preliminary injunction. After stating that a “plaintiff seeking a

   preliminary injunction must establish that he is likely to succeed on the merits, that he

   is likely to suffer irreparable harm in the absence of preliminary relief, that the




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   balance of equities tips in his favor, and that an injunction is in the public interest,”

   the Fourth Circuit concluded without discussion that the plaintiffs “have not met their

   burden in any respect.” N. C. Democratic Party v. Berger, 717 F. App’x 304, 306

   (4th Cir. 2018).1

4. On April 2, 2018, this Court dismissed the State of North Carolina and the Bipartisan

   State Board of Elections and Ethics Enforcement as parties based on Eleventh

   Amendment immunity. Doc. 72.

5. The matter came on for trial on June 7, 2018.


II.      FACTS
        The Court has weighed the evidence at trial, the stipulations, and the documentary

exhibits. The Court provides citations to some of the evidence that supports its factual

findings but has not attempted to cite all supporting evidence. The Court has disregarded

evidence of non-material matters. The Court overrules the objections by the defendants

to the testimony of Marcia Morey. The Court considered the testimony of Gerry Cohen,

which was uncontested as to its accuracy, as a helpful summary of North Carolina

legislative actions over the years and takes judicial notice of the relevant session laws

mentioned and discussed in his testimony. The Court has found facts as to some events

occurring after S.L. 214 was enacted but has given those facts little to no weight, as this

lawsuit is a facial challenge to the statute.




   1
     The Court omits internal citations, alterations, and quotation marks throughout this opinion,
unless otherwise noted. United States v. Marshall, 872 F.3d 213, 217 n. 6 (4th Cir. 2017).
                                                  2



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      The evidence at trial establishes the following facts, which the Court finds by a

preponderance of the evidence. See Raleigh Wake Citizens Ass’n. v. Wake Cty. Bd. of

Elections, 827 F.3d 333, 342 (4th Cir. 2016) (noting preponderance of the evidence

standard).

The parties:

1. Plaintiff North Carolina Democratic Party is a political party as defined in N.C. Gen.

   Stat. § 163A-950 (West, Westlaw through S.L. 2018-2).

2. Plaintiffs Cumberland County Democratic Party, Durham County Democratic Party,

   Forsyth County Democratic Party, Guilford County Democratic Party, Mecklenburg

   County Democratic Party, Orange County Democratic Party, and Wake County

   Democratic Party are the official political committees for Democrats in their

   respective counties and are separately and independently registered and reporting

   political committees.

3. Defendant Phillip E. Berger is the President Pro Tempore of the North Carolina

   Senate.

4. Defendant Timothy K. Moore is the Speaker of the North Carolina House of

   Representatives.

5. Defendant Kimberly Strach is the Executive Director of the North Carolina Bipartisan

   State Board of Elections and Ethics Enforcement.

Election of judges in North Carolina:

6. The North Carolina Constitution requires that the people elect the judges and justices

   of the district courts, superior courts, and appellate courts. N.C. Const. art. IV, §§

                                               3



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   9(1) (superior court judges), 10 (district court judges), 16 (supreme court justices and

   court of appeals judges).

7. Justices of the supreme court and judges of the court of appeals are elected statewide,

   N.C. Const. art. IV, § 16, while superior and district court judges are elected within

   local judicial districts. N.C. Const. art. IV, §§ 9, 10.

8. Historically, North Carolina citizens exercised this right through partisan elections

   with primaries or direct party nomination, followed by a general election. See Brian

   P. Troutman, Party Over? The Politics of North Carolina’s “Nonpartisan” Judicial

   Elections, 86 N.C. L. Rev. 1762, 1767–68 and n. 28 (2008). From 1868 to 1915,

   political parties nominated candidates for judicial offices at their party conventions.

   Id. at 1767; Doc. 103 at 112. From 1915 to 2016, candidates for judicial offices were

   nominated at primaries. Doc. 103 at 111–12. These primaries were partisan for most

   of the 20th century. Id. at 98–99. Beginning in 1996 and over the next few years, the

   relevant statutes were amended so that all judges were elected in nonpartisan elections

   and party affiliation was not listed on the ballot. Id.2 These nonpartisan elections

   included a “top-two” system for primaries, whereby the two candidates with the most

   votes in the primary advanced to the general election. See, e.g., S.L. 2002-158, § 7.


   2
      In 1996, nonpartisan elections were established for superior court judges. See S.L. 1996-9,
2d Extra Session, §§ 7, 24 (providing for a nonpartisan primary election method for superior
court judges for elections conducted in 1998 and thereafter). Nonpartisan elections for district
court judges were established in 2001. S.L. 2001-403, §§ 1, 13 (nonpartisan election of district
court judges, effective January 1, 2002). And in 2002, the General Assembly changed the state
appellate courts to a nonpartisan method of election, effective for primaries and elections held on
or after January 1, 2004. See S.L. 2002-158, §§ 7, 16 (providing for the nonpartisan election of
appellate judges and justices).


                                                  4



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9. Until enactment of the statute at issue, North Carolina law allowed for judicial

   elections without primaries only when a judicial vacancy at the superior court or

   appellate court level occurred after the primary but more than 60 days before the

   general election. N.C. Gen. Stat. § 163-329.3 In that situation, N.C. Gen. Stat. § 163-

   329 provided for the judge to be elected during the general election, with the winner

   determined on a plurality basis pursuant to N.C. Gen. Stat. § 163-292.

10. Using this procedure, vacancies on the appellate courts were filled without primaries

   in 2004, 2014, and 2016. Doc. 103 at 33–34; Def. Exh. 19 at 9; Def. Exh. 21. In

   2004, eight candidates competed for a single supreme court seat in a non-partisan

   election. Def. Exh. 17 at 6. The winner received approximately 23 percent of the

   vote. Id. This situation recurred in 2014, when 19 candidates were on the ballot for a

   single court of appeals seat. Def. Exh. 18 at 16–17. The winning candidate received

   approximately 24 percent of the vote. Id.

11. In 2016 and 2017, the General Assembly enacted laws restoring the partisan method

   of judicial elections for the district courts, superior courts, and appellate courts. See

   S.L. 2016-125, §§ 21(a), 21(h) (restoring partisan elections for the court of appeals

   and the supreme court, effective January 1, 2018); S.L. 2017-3, §§ 5, 14 (restoring

   partisan elections for superior and district courts, and effective January 1, 2018).

   Both S.L. 2016-125 and S.L. 2017-3 provided for semi-closed primary elections for


   3
      N.C. Gen. Stat. § 163-329 was repealed effective January 1, 2018. See S.L. 2017-3, §§ 13,
14 (repealing Article 25 of Subchapter X of Chapter 163 of the General Statutes). Chapter 163
of the General Statutes, as amended, was then re-codified into new Chapter 163A of the General
Statutes. S.L. 2017-6, § 3.
                                                 5



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   major political parties to determine their nominees. See S.L. 2016-125, § 21(a) and

   S.L. 2017-3, § 5; see also N.C. Gen. Stat. § 163A-989). This is consistent with North

   Carolina’s general approach to primary elections for non-judicial partisan races. N.C.

   Gen. Stat. § 163A-989 (West, Westlaw through S.L. 2018-2) (allowing, but not

   requiring, political parties to hold semi-closed primaries).

12. In 2016, after a judge on the court of appeals stepped down too late in the year for a

   primary to be held, Def. Exh. 21, only three candidates competed for the office: one

   Democrat, one Republican, and one unaffiliated candidate. Def. Exh. 19 at 9. The

   ballot for this race listed each candidate’s party affiliation.4 Id. The winner received

   less than a majority of the votes cast. Id.

13. It is not always necessary to hold primaries for judicial or other races, as there may

   not be more than one candidate from a particular party in a partisan race or more than

   two candidates when judicial races were non-partisan. See, e.g., Doc. 103 at 141–42

   (Rep. Morey testifying that she had no primary election in May 2018 because she had

   no Democratic opponent); see also supra, ¶ 12 and n. 4; Def. Exh. 19 at 9 (showing

   that only one self-identified Democrat filed for an open court of appeals seat in 2016).

14. For trial courts, judicial districts are established by statute. N.C. Gen. Stat. § 7A-41

   (West, Westlaw through S.L. 2018-2) (superior courts); N.C. Gen. Stat. § 7A-130

   (West, Westlaw through S.L. 2018-2) (district courts). District Attorneys are also


   4
     Confusingly, the 2016 court of appeals race was officially nonpartisan, see, supra, ¶ 11, but
each candidate’s party affiliation was listed on the ballot. See Def. Exh. 21; see also S.L. 2015-
292 (requiring candidates for court of appeals judgeships to list their party affiliation on their
notice of candidacy and putting this party affiliation on the ballot, effective September 29, 2015).
                                                   6



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   elected from districts, the lines of which generally line up with judicial districts. See

   id. § 7A-60.

15. The legislature first addressed judicial redistricting in April 2017 when H.B. 717 was

   introduced. Pl. Exh. 28. Initially, H.B. 717 addressed only superior court districts.

   Pl. Exh. 29 (H.B. 717 version 1). No action was taken on the bill until June 2017.

16. On June 25, 2017, Representative Burr, one of the bill’s sponsors, “tweeted” out

   maps proposing changes to North Carolina’s superior and district court judicial

   districts and to prosecutorial districts. Doc. 103 at 134; Pl. Exh. 28 at 6/26/2017

   (showing the maps for Proposed Committee Substitute 40632-ST-37). These maps

   affected judicial districts across the state. Doc. 103 at 134. Soon thereafter, the

   Judiciary I Committee approved the proposed maps. Pl. Exh. 28 at 6/26/2017

   (showing that H.B. 717 was voted out of committee with a favorable report). No

   further action was taken until late August 2017, when the Speaker of the House

   appointed a select committee on judicial redistricting and referred the bill to that

   committee. Pl. Exh. 28 at 8/30/2017; see also Doc. 103 at 133.

17. An amended version of H.B. 717 passed the House on October 5, 2017. Pl. Exhs. 28

   and 30. This version changed superior court judicial divisions, the district

   configurations of counties for superior courts, superior and district court judicial

   districts, prosecutorial districts, and the selection method for district and superior

   court judges in the new districts. Pl. Exh. 30; Doc. 103 at 135–36. According to the

   General Assembly website, the legislature has since taken additional action on H.B.

   717. North Carolina General Assembly, Legislative History Page, H.B. 717, 2017-

                                                7



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   2018 Sess., https://www2.ncleg.net/BillLookUp/Index/2017/H717/True (last accessed

   6/22/2018).

18. Since the enactment of the statute at issue here, the legislature has enacted other

   legislation that affects the judicial redistricting process. Just days before trial, the

   legislature ratified S.B. 757, which would make various changes to trial court districts

   in Mecklenburg, New Hanover, Pender, and Wake counties. North Carolina General

   Assembly, Legislative History Page, S.B. 757 2017-2018 Sess.,

   https://www2.ncleg.net/BillLookUp/2017/S757 (last accessed 6/22/2018). At trial,

   the plaintiffs presented evidence of effects flowing from the timing of action on S.B.

   757. Doc. 103 at 28–29. According to the legislative website, there have been

   additional developments since as to S.B. 757. Legislative History Page, S.B. 757.

S.L. 2017-214

19. In October 2017, the General Assembly made additional changes to election

   procedures, including the provisions related to judicial elections challenged here. Pl.

   Exh. 1 (S.B. 656, 2017-2018 Sess. (N.C. 2017), ratified as S.L. 2017-214).5 Most of

   the provisions of S.L. 214 were directed at expanding ballot access and were not

   limited to judicial elections. E.g., S.L. 214, §§ 1, 2(a). This law became effective

   January 1, 2018. S.L. 214, § 5.




   5
      Senate Bill 656 as amended was ratified on October 5, 2017, and sent to Governor Roy
Cooper for approval. Pl. Exh. 2. On October 9, 2017, Governor Cooper vetoed the bill on the
grounds that it “abolishes a scheduled election and takes away the right of the people to vote for
the judges of their choice.” Def. Exh. 9. S.B 656 was enacted as S.L. 2017-214 after the Senate
and House overrode Governor Cooper’s veto. Pl. Exh. 2.
                                                  8



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20. S.L. 214 also made a number of changes to judicial elections in 2018. As a result, in

   2018 judges will be elected through a process substantially different from historical

   practice and from the election process for other non-judicial partisan races.

21. Specifically at issue in this case, § 4(a) of S.L. 214 eliminated party primaries for

   state judicial offices (i.e., district court, superior court, and appellate court judges and

   justices) for the 2018 elections only. See S.L. 214 § 4(a). Primaries were not

   eliminated for any non-judicial elections. See generally S.L. 214.

22. For judicial races, all candidates will appear only on the general election ballot, and

   the candidate who receives the most votes for a given office in the general election

   will win. S.L. 214 §§ 4(a), 4(k). The elections are partisan, so a candidate’s party

   affiliation will be listed on the ballot. S.L. 214 § 4(b).

23. S.L. 214 also affects the candidacy filing period: candidates for judicial offices are to

   file their notice of candidacy between June 18 and June 29, 2018. S.L. 214 § 4(a).

24. Access to the ballot as a candidate is significantly more open for judicial candidates

   than for other races. Unaffiliated candidates in non-judicial elections must file

   petitions signed by a certain number of registered voters before they qualify to be

   placed on the ballot. S.L. 214, § 2(a).6 But judicial candidates unaffiliated with a




   6
      For example, to be placed on the ballot in a non-judicial statewide race, an unaffiliated
candidate must file a petition supporting their candidacy that is signed by a number of qualified
voters equal to 1.5 percent of the total number of voters who voted in the most recent general
election for Governor. S.L. 214, § 2(a). Additionally, the petition must contain at least 200
signatures from no less than three North Carolina congressional districts. Id.


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   party can file without meeting the petition requirement. S.L. 214, § 4(b), (d).7 As is

   relevant here, such a judicial candidate need only file a notice of candidacy with the

   State Board and verify unaffiliated status.8

25. Judicial candidates self-select their party affiliation. Doc. 103 at 24. S.L. 214

   permits a judicial candidate to change party affiliation immediately before filing for

   office. Id.; S.L. 214 § 4(b) (containing no minimum requirements for party affiliation

   for judicial elections in 2018).9 Thus, for example, a candidate could change from

   Republican or Unaffiliated to Democrat on the day of filing, and the candidate would

   then be listed on the ballot as a Democrat. Doc. 103 at 24. Candidates for other

   offices must be registered as affiliated with a particular party for at least 90 days

   before they file to run as a member of that party. N.C. Gen. Stat. § 163A-973 (West,

   Westlaw through S.L. 2018-2).

26. In the portion of the ballot for judicial elections, the word “Democrat” or

   “Republican” beside a candidate’s name does not mean that the candidate is the


   7
      Counsel for the State Board confirmed this at the January 25, 2018, hearing on the motion
for preliminary injunction.
   8
      There are other requirements, such as paying a filing fee, complying with campaign finance
disclosure rules, and, for superior or district court positions, residency requirements. See, e.g.,
S.L. 214, § 4(d), (g), (h); N.C. Gen. Stat § 163A-187 (West, Westlaw through S.L. 2018-2);
N.C. Gen. Stat. § 163A-1418 (West, Westlaw through S.L. 2018-2); see also N.C. State Bd.
of Elections & Ethics Enf’t, Guide for Candidates for Judicial Office in 2018 (Nov. 21, 2017),
http://www.ncsbe.gov/Portals/0/Documents/CandidateGuideJudicialOffice2018.pdf (last visited
6/22/2018).
   9
     Counsel for the State Board of Elections confirmed this interpretation of S.L. 214 at the
January 25, 2018, hearing on the motion for preliminary injunction. See also N.C. State Bd. of
Elections & Ethics Enf’t, Guide for Candidates for Judicial Office in 2018, supra n. 8.


                                                  10



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   party’s standard bearer or nominee. See Doc. 103 at 45–46, 69. By contrast, in the

   portion of the ballot for all other elections, the word “Republican” or “Democrat” next

   to a candidate’s name means that members of the party selected the candidate at the

   primary election,10 unless there was only one candidate from a party. Doc. 103 at 45.

   Under N.C. Gen. Stat. § 163A-983, if only one self-identified Democrat files to run

   for a particular office (judicial or otherwise)—i.e., if that candidate is unopposed—

   then she would go straight to the general election ballot with a self-identified party

   label, and the party would have no say in the process and no opportunity to defeat that

   candidate before the general election.

27. There is no limit on the number of candidates who may file for a particular judicial

   office for the 2018 general election, Doc. 103 at 29–30 and 46, and there is no

   mechanism for reducing the number of candidates who will appear on the general

   election ballot.

28. Even if a political party establishes its own mechanism to nominate or endorse a

   candidate, there is no mechanism for that information to be communicated on the

   ballot. Doc. 103 at 31.




   10
       A few days before trial, the General Assembly passed a bill that would inform voters that
no judicial primaries were held and that candidates self-identified their party preference. Def.
Exh. 34 (S.B. 486, 2017-2018 Sess. (N.C. 2018), at §§ 2(b), (c), (e)). S.B. 486 would print the
following language on the ballot above all judicial races: “No primaries for judicial office were
held in 2018. The information listed by each of the following candidates’ names indicates only
the candidates’ party affiliation or unaffiliated status on their voter registration at the time they
filed to run for office.” Id. (S.B. 486, § 2(c)). As of the date of the trial, the Governor had not
signed or vetoed this bill, and neither party referenced this particular provision at trial.
                                                    11



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29. As a result of these changes, all candidates for judicial office will appear on the

   general election ballot. For each race, the ballot will show the political party or

   unaffiliated status that the candidate chose. There is no majority-vote requirement, so

   if multiple candidates file it is entirely possible, even likely, that a candidate with only

   a plurality of the votes will win. See S.L. 214, § 4(k); see also Def. Exh. 17 at 6 and

   Def. Exh. 18 at 16–17.

30. The filing period for all non-judicial races, including for candidates seeking district

   attorney positions, was in February 2018. See Doc. 103 at 126, 131.

31. A primary election for non-judicial races, including races for district attorney

   positions, was held on May 8, 2018. See id. at 131, 141.

32. The general election will be held on November 6, 2018.

Legislative History of S.L. 214/S.B. 656

33. When S.B. 656 was first introduced in April 2017, it did not eliminate judicial

   primaries. Doc. 103 at 125–26. On October 4, 2017, a Proposed Conference

   Committee Substitute added § 4(a), which would have eliminated primaries for judges

   and district attorneys for the 2018 election cycle. Doc. 103 at 126; Pl. Exh. 2. On

   October 5, the General Assembly amended the Proposed Conference Committee

   Substitute Bill for S.B. 656 to restore primaries for the election of district attorneys.

   Doc. 103 at 126–27; Def. Exh. 2. That same day, S.B. 656 as amended was ratified

   and sent to the Governor. Doc. 103 at 127; Def. Exh. 2.

34. Even after S.B. 656 reinstated primaries for district attorneys, the General Assembly

   has continued to look at revising the prosecutorial districts. Doc. 103 at 131–32.
                                               12



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   Some of the proposed maps in H.B. 717, the redistricting bill under consideration in

   2017 and 2018, would affect both prosecutorial and judicial districts. Id.; see also

   supra ¶ 17.

2018 Judicial Races

35. There are between 140 and 150 judicial seats up for election in 2018. Doc. 103 at 28.

36. Four of these judicial seats are on the appellate courts. Id.

37. Although the exact breakdown is not in the record, at least one supreme court race,

   three court of appeals races, more than 30 superior court races, and more than 115

   district court races will be on the 2018 ballot. Pl. Exh. 56 at 11 (statement by

   Representative John during floor debate). The appellate races will appear on the

   general election ballot statewide, while the superior and district court races will

   appear on local ballots according to their judicial district.


The effects of Section 4(a) of S.L. 214 on the associational rights of the plaintiffs


38. As a result of S.L. 214’s cancellation of the judicial primary in 2018, the plaintiffs

   have no ability to exclude or attempt to exclude candidates who have self-identified as

   Democrats from the general election ballot, they cannot nominate a ballot candidate

   for any judicial seat, and if they choose to endorse or nominate through a non-ballot

   process they cannot ensure or attempt to ensure that their chosen candidate will be the

   only self-identified Democratic candidate on the general election ballot. This will

   affect the ability of the plaintiffs to promote their party goals, beliefs, and values,

   especially in light of the new provision allowing candidates to change parties
                                                13



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   immediately before filing instead of requiring a 90-day registration period. See Cal.

   Democratic Party v. Jones, 530 U.S. 567, 574–75 (2000) (pointing out the importance

   of the ability to exclude those who do not share party goals and beliefs).

39. The lack of a primary or other ballot-nominating process will cost the plaintiffs

   money and divert resources from other races. State and county Democratic Parties

   will have to expend time and money to decide whether to develop new one-time

   procedures for nomination or endorsement and to implement their chosen procedures,

   all within a short time frame. See Doc. 103 at 25–29, 50–53. While the plaintiffs

   have had several months to develop such a process for state-wide races, see infra at ¶¶

   45 and 47, this has been almost impossible at the trial court level because of the

   shifting legislative landscape. See infra at ¶ 48. Because S.L. 214 “cut in half” the

   ability of many individual judicial candidates to raise funds, Doc. 103 at 32–33

   (discussing the state law cap for campaign contributions, how the “clock resets” after

   the primary, and when a candidate can again begin to raise money), the North

   Carolina Democratic Party will have to “raise more funds and expend tremendous

   sums” to make up for funds that individual candidates would otherwise have raised in

   multi-candidate races. Id. at 33. Such resources will be diverted from other races or

   efforts.

40. S.L. 214 has no minimum time requirement for party affiliation. This increases the

   chance a candidate will be a ‘ringer.” Absent a primary or other process that winnows

   down candidates on the general election ballot, the plaintiffs have no way to attempt

   to prevent persons who do not actually support the party’s aims from appearing on the

                                              14



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   general election ballot with the party designation of the plaintiffs. See Bullock v.

   Carter, 405 U.S. 134, 145 (1972) (noting the state’s interest in protecting the integrity

   of its political processes from frivolous or fraudulent candidacies).

41. The lack of a primary or some other winnowing process will likely result in some

   voter confusion as voters will be unable to determine which candidate is actually the

   Democratic Party choice. See Doc. 103 at 69. Voter confusion often results in lower

   turnout, especially in election years with no presidential, senatorial, or gubernatorial

   races on the ballot like in 2018. Id. at 70, 73. It also results in voters deciding not to

   vote all the way down the ballot, further reducing electoral participation. Id. at 71;

   see also Bullock, 405 U.S. at 145 (noting the state’s interest in avoiding voter

   confusion and overcrowded ballots). It makes it harder for the plaintiffs to effectively

   encourage straight-ticket voting. See Def. Exh. 1, 5, 6, and 14 (local party “slate

   cards”); Doc. 103 at 70–71 (noting that S.L. 214 makes it more difficult to get

   information about candidates to voters); Doc. 103 at 71 (indicating that confused

   voters will turn in their ballots without voting in all races).

42. S.L. 214 applies the same to all political parties. It treats Democrats no differently

   than Republicans.

43. Nothing in the law interferes with the internal governance of the parties. E.g., Doc.

   103 at 88 (Ms. Llewellyn admitting that the elimination of primaries does not interfere

   with the internal governance of the Wake County Democratic Party).

44. S.L. 214 does not interfere with or limit the ability of political parties like the

   plaintiffs from nominating, endorsing, or supporting particular judicial candidates.

                                                15



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   Doc. 103 at 51, 84. Among other options, the plaintiffs—both at the state and county

   level—could a hold a convention to pick a nominee or could choose a candidate

   through some alternative means, such as endorsement. See id.

45. Because S.L. 214 passed almost 8 months ago, some 13 months before the general

   election, the political parties have had time and will have time to consider its effects

   and to develop strategies to deal with its challenges. Both the Democratic Party and

   the Republican Party are contemplating an endorsement process for the 2018

   appellate judicial races. Doc. 103 at 25–26 (Democrats); Def. Exh. 7 (Republicans).

46. The Democratic Party has historically not taken sides or spent money on behalf of

   candidates during the primary process. Doc. 103 at 40–42 (noting that the

   Democratic Party’s “policy is not to intervene in primaries[,] historically and today”).

47. Because S.L. 214 abolished primaries for appellate judicial races, the North Carolina

   Democratic Party determined that it had “no other options” than endorsing appellate

   court candidates to reduce the splitting of Democratic votes and to support their

   preferred candidate. See Doc. 103 at 25–27. Candidates seeking endorsement will

   complete a questionnaire and submit to an endorsement interview. Id. at 25. The

   Executive Council of the North Carolina Democratic Party will then choose the

   nominee. Id. At trial, it was not clear if this endorsement process—at least for the

   appellate courts—would be complete before the filing period opened. Id. at 26.

48. At least one county Democratic Party organization considered an endorsement panel

   similar to what the North Carolina Democratic Party is implementing at the state

   level. Doc. 103 at 28–29. Because the legislature had not, as of the time of trial,

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   taken final action to redistrict local seats and new proposals were being put forth and

   acted upon, including one as recently as early June, this process had not been finalized

   and was disrupted by continuing legislative action. Id. at 29.

49. Endorsements by political parties carry at least some weight. In 2014, 19 candidates

   competed for a single court of appeals seat that was on the general election ballot

   without a primary. Def. Exh. 18 at 16–17. Although this was a non-partisan election,

   the State Executive Council of the North Carolina Democratic Party endorsed John

   Arrowood for the vacancy. Def. Exh. 13. This endorsement was featured on some

   sample ballots that the county Democratic Parties distributed. Def. Exh. 1; Def. Exh.

   14. Judge Arrowood did not win, but he did receive the second-highest tally of

   votes—approximately 14 percent, compared to 24 percent for the winner. Def. Exh.

   18 at 16–17.11

50. S.L. 214 does not prevent the plaintiffs from communicating their support for judicial

   candidates. The plaintiffs may still support candidates or communicate with voters

   through other means, including: distributing sample ballots, mailers, making phone

   calls, canvassing, or sending email lists to communicate a party endorsement. Doc.

   103 at 84–85.

51. S.L. 214 does not prohibit advising and training candidates. Id. at 89. It does not

   prohibit managing volunteers or grass-roots support for candidates. See id. at 84–90.



   11
     The Defendants’ trial brief indicates that the Republican Party endorsed John Tyson, the
winning candidate, Doc. 93 at 8, but they did not offer evidence to this effect at trial.


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52. When S.L. 214 was enacted and as of the trial date, the filing period had not yet

   opened, and no one knew how many candidates would actually file for any particular

   judicial office. Id. at 61–62. While there is historical evidence of multiple

   candidates, Def. Exhs. 17 and 18, in the most recent statewide judicial race with no

   primary—which listed the party affiliation of the candidates on the ballot, like the

   2018 elections will do—there was only one candidate per party and one unaffiliated

   candidate. Def. Exh. 19 at 9; Def. Exh. 21.

Justifications

53. The defendants have offered three justifications for delaying judicial candidate filing

   and cancelling the judicial primaries: (a) providing an opportunity to review and

   implement judicial redistricting for superior and district court judges before the start

   of the 2018 election cycle for these offices; (b) providing an opportunity to analyze,

   debate, and present potential constitutional amendments about changes to judicial

   term length and the manner of selection of judges in North Carolina that could take

   effect in 2018 if adopted; and (c) avoiding voter confusion and inconsistency related

   to holding primaries for some but not all judicial races.

54. All Republican legislators have stipulated that they will refuse to answer any

   question in court “about the origin, drafting, revision, history, enactment, purpose[,]

   and justification” for the elimination of judicial primaries on the grounds of legislative

   privilege. Doc. 75 at ¶¶ 2–3.

55. The legislative history indicates—and all parties agree— that at the time S.L. 214

   was enacted the General Assembly’s stated purpose for cancelling primaries was to

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   provide the legislature with more time to consider legislation redrawing the

   boundaries of existing judicial superior and district court districts, and the Court so

   finds. Legislation to redistrict these seats had been introduced in the House earlier in

   2017, and a committee was appointed to study the matter early in the fall of 2017. Pl.

   Exh. 2. During floor debate in October on S.B. 656, the bill that became S.L. 214, the

   representative who moved to pass the bill over the governor’s veto stated that the

   reason judicial primaries were abolished was so the legislature could “take our time”

   in redistricting judicial seats and “get it right.” Pl. Exh. 56 at 8 (statement by

   Representative Lewis); see also Pl. Exh. 56 at 10 (statement by Representative Lewis

   during floor debate that no redistricting was contemplated for appellate judicial races).

   This was the only the justification that the defendants raised before this Court issued a

   preliminary injunction in January of 2018. Doc. 45 at 7–8.

56. Some legislators in the General Assembly were informally considering efforts to

   initiate a constitutional amendment to alter the method of selection of judges in

   October 2017 when S.L. 214 was enacted into law. See Def. Exh. 9 (Governor

   Cooper’s Veto Message asserting that S.B. 656 “is the first step toward a

   constitutional amendment that will rig the system so that the legislature picks

   everybody’s judges in every district instead of letting the people vote for the judges

   they want”); Doc. 103 at 151; Def. Exh. 35 (Rep. Morey’s draft declaration stating

   that S.B. 656 had a dual purpose: buying time to see if the Senate passed H.B. 717

   and if the legislature approved a constitutional amendment for the merit selection of

   judges in January 2018). A few months after S.L. 214 passed, the Senate Select

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   Committee on Judicial Reform and Redistricting stated in a letter to a Senate Berger

   that it had “met over the past two months to consider the important issues of how

   North Carolina selects its judges and whether changes are needed to the state’s

   existing judicial districts[,]” Def. Exh. 8, which tends to indicate that judicial selection

   methods were at issue at or soon after the time S.L. 214 was passed.

57. After the fact and just a few days before trial, the General Assembly passed a bill that

   included language stating it had enacted S.L. 214 “to allow for more time to

   thoughtfully consider” judicial redistricting and the forms of judicial selection. Def.

   Exh. 34 (S.B. 486, 2017-2018 Sess., at § 2(a)).

58. At the time S.L. 214 was enacted, no bill had been introduced to submit to the voters

   for their approval any constitutional amendment altering the method of selection of

   members of the judiciary effective with the 2018 elections. Doc. 103 at 131. No such

   bill has been introduced since. Id.

59. Other than the fact that S.L. 214 treats all judicial races the same, see S.L. 214, § 4(a)

   (cancelling primaries for all judicial races), there is no explicit or direct evidence from

   the time the bill was under consideration and enacted that the legislature decided not

   to have primaries for statewide appellate races—which were not subject to

   redistricting—in order to be consistent as to all judicial races. After the fact, the

   General Assembly passed a bill including language “that all elections for judges in

   2018 were to be treated uniformly under S.L. 2017-214, the Electoral Freedom Act of

   2017, while [changes to judicial redistricting and forms of judicial selection] were

   considered.” Def. Exh. 34 (S.B. 486, § 2(a)).

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III.     LEGAL PRINCIPLES
         “The First Amendment protects the right of citizens to associate and to form

political parties for the advancement of common political goals and ideas,” Timmons v.

Twin Cities Area New Party, 520 U.S. 351, 357 (1997), and to independently express

their political views as a party. Colo. Republican Fed. Campaign Comm. v. Fed. Election

Comm’n, 518 U.S. 604, 616 (1996). Thus, political parties and their adherents “enjoy a

constitutionally protected right of political association.” Democratic Party of U. S. v. Wis.

ex rel. La Follette, 450 U.S. 107, 121 (1981). The government, structure, and activities

of political parties enjoy constitutional protection, see Eu v. San Francisco Cty.

Democratic Cent. Comm., 489 U.S. 214, 230 (1989) (noting political party’s “discretion

in how to organize itself, conduct its affairs, and select its leaders”), and the Supreme

Court has regularly recognized the interests of political parties in ballot access and other

election-related issues. See, e.g., Timmons, 520 U.S. at 363 (identifying burden

prohibiting “fusion” designation on ballot as “not trivial”).

         “It is also clear that States may, and inevitably must, enact reasonable regulations

of parties, elections, and ballots to reduce election- and campaign-related disorder.”

Timmons, 520 U.S. at 358. “[A]s a practical matter, there must be a substantial regulation

of elections if they are to be fair and honest and if some sort of order, rather than chaos, is

to accompany the democratic process.” Storer v. Brown, 415 U.S. 724, 730 (1974). The

Constitution grants broad powers to the states to prescribe the time, place, and manner of




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elections for state offices. Tashjian v. Republican Party of Conn., 479 U.S 208, 217

(1986).

       Thus, not every burden on a political party’s preferences constitutes a burden on

the right of association, and not every burden on the right of association is

unconstitutional. See Anderson v. Celebrezze, 460 U.S. 780, 788–89 (1983) (noting that

no “litmus-paper test” separates acceptable from unacceptable restrictions given that

substantial regulation of the electoral process is necessary); see also Gill v. Whitford, No.

16-1161, 2018 WL 3013807, at *15 (U.S. Jun. 18, 2018) (noting in a different context

that federal courts are “not responsible for vindicating generalized partisan preferences”

in electoral regulation). When analyzing whether a state election law impermissibly

impinges on associational rights protected by the First Amendment, courts apply the

framework developed by the Supreme Court in Anderson, 460 U.S. 780, and Burdick v.

Takushi, 504 U.S. 428 (1992). See Marcellus v. Va. State Bd. of Elections, 849 F.3d 169,

175 (4th Cir. 2017).

       As explained in Anderson, a court

          must first consider the character and magnitude of the asserted injury to
          the rights protected by the First and Fourteenth Amendments that the
          plaintiff seeks to vindicate. It then must identify and evaluate the precise
          interests put forward by the State as justifications for the burden imposed
          by its rule. In passing judgment, the Court must not only determine the
          legitimacy and strength of each of those interests; it also must consider the
          extent to which those interests make it necessary to burden the plaintiff’s
          rights. Only after weighing all these factors is the reviewing court in a
          position to decide whether the challenged provision is unconstitutional.

460 U.S. at 789. Not all restrictions are subject to strict scrutiny. Burdick, 504 U.S. at

432. Rather, the “rigorousness” of the inquiry “depends upon the extent to which a

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challenged regulation burdens First and Fourteenth Amendment rights.” Id. at 434.

Laws imposing “severe” restrictions must be “narrowly drawn to advance a state interest

of compelling importance,” id., while an election provision that “imposes only

reasonable, nondiscriminatory restrictions upon . . . First and Fourteenth Amendment

rights” is generally justified by “the State’s important regulatory interests.” Id.; accord

Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 451–52 (2008).

       Thus, when applying the Anderson–Burdick analysis, courts consider first “the

character and magnitude” of the burden that the challenged provision imposes on

associational rights. Marcellus, 849 F.3d at 175. Courts then evaluate that burden in

light of the reasons proffered by the state in justification of the burden. Wash. State

Grange, 552 U.S. at 451–52.

       None of the parties have identified another state that elects officials using only a

general election regardless of the number of candidates. As best the Court can tell, the

relevant Supreme Court cases discussing relevant associational rights all arise in the

context of election systems that involve primaries or other methods restricting access to

the general election ballot. These cases tend to be directed toward the state’s interests in

regulating elections and not the state’s interests in holding a general election without any

such restrictions. And, of course, the fact that a state has a legitimate interest in

regulating the numbers of candidates on the ballot does not necessarily mean that the

state must so regulate.

       While no Supreme Court precedent is directly controlling, there are several cases

providing some guidance. In California Democratic Party v. Jones, the Supreme Court

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emphasized the importance of the primary election in a case challenging a California law

prohibiting political parties from excluding non-party members from voting in their

primaries. 530 U.S. 567 (2000). In finding that this statute violated the associational

rights of a political party, the Court noted that “in no area is the political association’s

right to exclude more important than in the process of selecting its nominee” and that the

nominating process is “the crucial juncture at which the appeal to common principles

may be translated into concerted action, and hence to political power in the community.”

Id. at 575.

       In Washington State Grange v. Washington State Republican Party, the Supreme

Court upheld a Washington initiative establishing a “top two” primary where candidates

were permitted to identify themselves on the ballot by their party preference regardless of

whether they were endorsed by or were even members of that party because the statutory

system did not require party nomination and there was nothing to indicate the candidates

would be designated as the party’s nominees. 552 U.S. at 447–59. The Court further

held that a political party has no First Amendment right to designate its nominee on the

general election ballot. Wash. State Grange, 552 U.S. at 453 n. 7. And in Timmons v.

Twin Cities Area New Party, where a minor political party challenged a “fusion ban”

prohibiting an individual from appearing on the ballot as a candidate of more than one

party, the Court recognized that the associational right at issue was “not trivial,” but was

“unpersuaded” that the party “has a right to use the ballot itself to send a particularized

message, to its candidate and to the voters, about the nature of its support for the

candidate.” 520 U.S. at 363.

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       Finally, while primaries of one sort or another are the usual means for winnowing

down the candidates in modern elections and have historically been the method used in

North Carolina, there are other methods. For example, in New York State Board of

Elections v. Lopez Torres, the Supreme Court upheld a nominating process for judicial

candidates involving party conventions against an individual candidate’s challenge. 552

U.S. 196, 202–07 (2008); see also, e.g., Miller v. Brown, 503 F.3d 360, 362 (4th Cir.

2007) (explaining other methods of nomination available in Virginia).

       It is clear from Washington State Grange that the plaintiffs here have no absolute

right to use the general election ballot to identify the party’s nominee for a judicial office.

It is clear from Lopez Torres and other cases that a primary election is not the only way a

state can constitutionally reduce the number of candidates for the general election and,

thus, that political parties cannot demand that states choose the winnowing-down method

that the political parties prefer.

       On the other hand, all of these cases, particularly Washington State Grange,

support the view that political parties do have associational rights that are burdened by

potentially confusing ballots with multiple candidates claiming to be representatives of

the party and by a system, like the one at issue here, that allows candidates to decide what

party affiliation will be listed on the ballot. See Wash. State Grange, 552 U.S. at 451–52

(noting that the litigants’ disagreement was only as to severity of the burden, not the fact

of the burden or the existence of the parties’ associational rights); Jones, 530 U.S. at 575–

76 (emphasizing the importance of parties’ ability to select their candidate); Timmons,

520 U.S. at 363 (identifying ban on “fusion” candidate ballot designation as “not trivial”).

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        Finally, this is a facial challenge to S.L. 214. The Supreme Court has made clear

that in challenges to changes to an electoral system, “a plaintiff can only succeed in a

facial challenge by establishing that no set of circumstances exists under which the Act

would be valid, i.e., that the law is unconstitutional in all of its applications.” Wash. State

Grange, 552 U.S. at 449. Further, “[i]n determining whether a law is facially invalid,

[courts] must be careful not to go beyond the statute’s facial requirements and speculate

about ‘hypothetical’ or ‘imaginary’ cases.” Id. at 449–50.

IV.     ANALYSIS
        The plaintiffs contend that § 4(a) of S.L. 214 infringes on their associational rights

in a number of different ways, all of which are related to the abolishment of the primary

election in what are now partisan judicial races. The defendants contend that the

associational rights of the plaintiffs are not burdened, or, if they are, that the burdens are

not severe.

        Taken together, the accumulated effects of § 4(a) of S.L. 214 burden the plaintiffs’

associational rights. In partisan elections, political parties have a strong interest in

identifying one candidate on the general election ballot to serve as the party’s standard-

bearer in that particular race. See Jones, 530 U.S. at 575–76. The plaintiffs will have to

spend time and money educating voters on the meaning—and lack of meaning—of the

political party designations on the ballot. See id. at 574–75 (pointing out the importance

of the ability to exclude those who do not share goals and beliefs); Doc. 103 at 33

(noting that the NCDP will have to raise and expend “tremendous sums” that it would not

otherwise have needed to raise). Because cancelling primaries also affects individual

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candidates in their ability to raise funds due to state campaign finance laws, id. at 32–33,

parties are more likely to need to spend money in the general election to support their

chosen candidates. Because S.L. 214 removes the minimum time requirement for party

affiliation before filing as a judicial candidate and does away with the primary, persons

who do not support the party’s aims are more likely to appear on the general election

ballot as an individual affiliated with the party. Doc. 103 at 70 (explaining that there is

no mechanism for indicating a party’s nominee or endorsed candidate on the ballot); see

also Jones, 530 U.S. at 572, 578–79 (discussing risks from raiding and malicious

crossover voting); Bullock, 405 U.S. at 145 (discussing risks of fraudulent candidates).

Because a judicial candidate’s self-identified party affiliation will appear next to her or

his name on the ballot, if more than one candidate files as a Democrat then voters will be

unable to determine which candidate is actually the Democratic Party’s choice. Doc. 103

at 69; cf. Bullock, 405 U.S. at 145 (noting, inter alia, the state’s interest in avoiding voter

confusion from overcrowded ballots). Consequently, the plaintiffs will be forced to

implement an endorsement process—or some other method of nomination—to support

their preferred candidates. See Doc. 103 at 25. This goes against the North Carolina

Democratic Party’s longstanding policy of allowing Democratic Party voters, not party

leaders, to select the party nominee. Id. at 40–41. Finally, at the time S.L. 214 was

enacted, neither the Republican Party nor the Democratic Party had procedures in place

to deal with the associational fallout from an unexpected wholesale abolishment of

primaries in judicial elections.



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       However, the burden on the interests of the political parties is not severe. No

political party has a right to have its nominee listed as such on the general election ballot.

Wash. State Grange, 552 U.S. at 453 n. 7. S.L. 214 is politically neutral: it applies

equally to all recognized political parties. See Pl. Exh. 1; see Def. Exh. 7. Section 4(a) of

S.L. 214 does not affect the ability of the plaintiffs to choose, support, or endorse a

candidate or to disavow candidates who claim affiliation but do not share the party’s

goals. See Eu, 489 U.S. at 224 (severe infringement where political parties barred from

endorsing and opposing candidates); see also Timmons, 520 U.S. at 361 (noting that the

“New Party remains free to endorse whom it likes, to ally itself with others, to nominate

candidates for office, and to spread its message to all who will listen”). The plaintiffs

may still hold a convention or endorse a candidate through other means. Doc. 103 at 49–

50. They may distribute sample ballots, make phone calls, canvass, or send email lists to

communicate a party endorsement or to support or oppose a particular candidate. See

Doc. 103 at 84–85. S.L. 214 does not compel the party to associate with voters of

another party. See Jones, 530 U.S. at 577 (party forced to associate with rival party

members for the nomination of it candidates).

       Nor does § 4(a) of S.L. 214 regulate the parties’ internal decision making.

Timmons, 520 U.S. at 360 (“Tashijan and Eu involved regulation of political parties’

internal affairs and core associational activities”). It does not prohibit—nor does it

require—political parties like the plaintiffs from endorsing, nominating, advocating for,

or otherwise supporting candidates who self-identify as Democrats on the ballot.

Similarly, the plaintiffs are free to oppose judicial candidates—including those who self-

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identify as Democrats—who hold views antithetical to those of the plaintiff political

parties. While the abolishment of judicial primaries has caused the plaintiffs and other

parties to contemplate changes to their procedures, that fact alone is not a burden. No

political party has a unilateral associational right to maintain election systems as they are

merely out of a desire to avoid the costs of change. See Gill, 2018 WL 3013807, at *15

(noting in a different context that federal courts are “not responsible for vindicating

generalized partisan preferences”). That the North Carolina Democratic Party’s

procedures for change require more time than is available before the General Election is

not attributable to the defendants or to § 4(a) of S.L. 214; instead, it is attributable to

choices the State Party made about how it wants to manage the process of changing its

rules, procedures, and policies.12

        While § 4(a) may result in two or more candidates who self-identify as Democrats

on the general election ballot without giving the party an opportunity to use its resources

during the primary to defeat any frivolous or fraudulent candidates, the evidence shows

that the plaintiffs have not historically “taken sides” during primaries. See Doc. 103 at

40–41 (noting that the Democratic Party’s policy “is not to intervene in primaries[,]

historically and today”). And nothing prevents the plaintiffs from recruiting “real”

Democrats to run, which would prevent the problem of a ballot with only a self-identified



   12
      Several witnesses for the plaintiffs testified generally that the abolishment of primaries in
2018 affected the plaintiffs’ internal decision-making. However, the only specific decision they
identified was the need to develop new procedures to deal with the cancelled primaries. Doc.
103 at 24–29, 33–38, 88.


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Democratic “ringer.” Finally, because the filing period closes in late June, the plaintiffs

will have more than four months to choose and muster support for their chosen

candidates before the general election.

       Specifically as to appellate judicial races, the last appellate race with no primary

did not have multiple candidates from each party. Def. Exh. 19 at 9; Def. Exh. 21. Only

three candidates ran: one Democrat, one Republican, and one unaffiliated candidate. Def.

Exh. 19 at 9. In that race—as with the upcoming 2018 judicial elections—partisan

designations for judicial candidates were listed on the general election ballot. Def. Exh.

21. Thus, it is not certain that confusion will be widespread. Both parties appear to be in

the process of implementing a way to select an endorsed candidate and to endorse before

the filing period begins. Doc. 103 at 25–26 (Democrats); Def. Exh. 7 (Republicans).

Thus, they are taking steps to speak with one voice, to select their own candidate, and to

reduce the possibility of multiple candidates from each party.

       As to judicial races for trial judges, as of the date of trial the legislature was

continuing to work on redistricting for trial judges. With the June 18 to June 29 filing

period fast-approaching, this made it very difficult if not impossible for local county

Democratic parties to know when they needed to recruit candidates and when they

needed to discourage candidates. And it made it virtually impossible for the local parties

to establish and implement a meaningful pre-filing-period endorsement process—even if

the legislature makes no changes in judicial districts. See Doc. 103 at 28–29 (reflecting

the difficulties one county-level plaintiff had implementing an endorsement panel given

the changing legislative landscape). On the other hand, there is no evidence as to the

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likelihood of multiple candidates on the ballot for any particular local judicial race or as

to the number of races in any particular judicial district under current law, so it is difficult

to predict that confusion about party affiliation or confusion resulting from many multi-

candidate races will be widespread or significant. It is thus not at all clear that lack of

time to develop a pre-filing-period endorsement process is a significant burden.

       The Court thus concludes that the burden on the associational rights of the

plaintiffs is small. When a law places only a modest burden on association rights, “a

State’s important regulatory interests will usually be enough to justify reasonable,

nondiscriminatory restrictions.” Timmons, 520 U.S. at 358; see also Wash. State Grange,

552 U.S. at 451–52. States “may, and inevitably must, enact reasonable regulations of

parties, elections, and ballots to reduce election- and campaign-related disorder.”

Timmons, 520 U.S. at 358. But it is the legislature, not the courts, who are responsible

for those regulations. While the courts can review those regulations for constitutional

violations, courts do not substitute their own judgment for how to weigh the costs and

benefits of particular electoral regulations. See Storer, 415 U.S. at 729–30 (observing

that states have broad but not unlimited power to regulate the time, place, and manner of

elections because of their interest in the fair, honest, and orderly conduct of elections).

       Here, the defendants contend that three governmental interests justify abolishing

judicial primaries in 2018: (1) giving the legislature time to redistrict so the 2018

election can be conducted under the new districts, (2) giving the legislature time to

consider and implement changes to judicial selection for the 2018 election, and (3)



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reducing voter confusion that would result from inconsistency related to holding

primaries for some but not all judicial races in 2018.13

        The evidence is strong that the legislature’s decision to abolish primaries in 2018

was based on its desire to examine and adjust judicial districts before the 2018 election.

Because district and superior judges are elected from particular districts, the legislature

could reasonably conclude that it was likely enough to enact new boundaries for such

districts this year that the normal filing period and primary dates were not workable.

Certainly the legislature has a legitimate interest in seeing its decisions implemented as

soon as is reasonably possible.

        While the General Assembly’s most clearly articulated reason for cancelling the

judicial primaries—gaining more time for redrawing superior and district court lines—

does not apply to appellate judicial races,14 and while there is no credible direct evidence

that the legislature affirmatively decided to include appellate races in the prohibition out

of a desire to reduce confusion that might result from subjecting different judicial races to

different electoral processes, it is undisputed that the legislature did in fact treat all

judicial races the same. See Storer, 415 U.S. at 730, 736 (noting that states have a

legitimate interest in administrative efficiency in the elections process). This is a




   13
       At trial, the parties agreed that the Court should consider only the General Assembly’s
justifications for S.L. 214 as of the time the bill was enacted, not any justification that may have
come to pass later. E.g., Doc. 103 at 205–06, 227.
   14
     As noted supra, appellate judges are, by constitutional requirement, elected statewide.
N.C. Const. art. IV, § 16.


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legitimate concern and nothing has really changed in this regard since the Fourth Circuit

decided that the plaintiffs’ evidence on the merits was insufficient to justify a preliminary

injunction. See Berger, 717 F. App’x at 307–08 (Motz, J. concurring) (noting in this case

the state’s legitimate interest in consistency in judicial elections); see also Munro v.

Socialist Workers Party, 479 U.S. 189, 195–95 (1986) (reasoning that the state was not

required to make a “particularized showing” of the interests alleged to support its law

because requiring such proof would lead to “endless court battles” over the sufficiency of

the state’s evidence).15

        Taken together, these two justifications are sufficient to outweigh, on a facial

challenge, the modest burdens that a one-time cancellation of judicial primaries imposes

on the associational rights of the plaintiffs.16 The lack of a primary or other mechanism

for reducing candidates applies only for the 2018 election and there is no evidence

tending to show that any particular local general election ballots will be overwhelmed

with numerous multi-candidate races so that confusion will be certain to affect the

   15
       The plaintiffs contend that one of the legislature’s justifications—buying time to revise the
judicial districts—is undermined because the legislature did not also cancel the primary elections
for district attorneys even though prosecutorial districts were also under consideration for
revision. However, the plaintiffs have not explained how a policy decision treating judicial and
non-judicial elections differently violates their associational rights. Nor have the plaintiffs
directed the Court to any case law supporting their implicit contention that on this kind of record
the Court should evaluate the truthfulness of the legislature’s explicitly stated purpose.
   16
      Given these two legitimate concerns, the Court need not address the third justification that
the defendants proffered at trial: that the legislature was considering changes to the method of
judicial selection. The evidence that this was the real reason for the act is weak, and the Court
declines to wade into the difficult question of determining legislative intent in the face of a
virtually silent record. The defendants’ other reasons, one of which is supported by strong
evidence from the time the law was enacted, are sufficient to support the minor intrusion on the
associational rights of the plaintiffs.


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associational rights of the plaintiffs. Similarly, nothing in S.L. 214 prevents county-level

party organizations from endorsing candidates or from communicating with voters about

their chosen candidates. While § 4(a) and the legislature’s delay in finalizing

redistricting have made it virtually impossible for the local plaintiffs to undertake any

meaningful associational activity to reduce competition between Democrats in the

general election and have made it impossible for their standard-bearer to be identified as

such on the ballot, these facts had not occurred and were not known at the time the law

was enacted and are only marginally relevant, if that, to a facial challenge. In any event,

the plaintiffs will have several months to work in favor of their chosen candidates

between the filing period in June and the election in November. While § 4(a) of S.L. 214

does prevent the plaintiffs from attempting to defeat “fake Democrats” in a primary, it is

not clear that this problem will happen often, and the possibility of such problems is

insufficient to support a facial challenge. Similarly, the possibility that there will be voter

confusion that will affect the plaintiffs’ associational rights is not certain or widespread

enough to support a facial challenge. See Wash. State Grange, 552 U.S. at 449–50

(reminding courts not to consider “hypothetical or imaginary cases” when evaluating

facial challenges to election laws based on burdens on associational rights).

        Appellate judicial races will lead the statewide ticket in 2018, 17 giving them

increased importance and heightening the associational rights at issue. Moreover, for


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      The Court takes judicial notice that the governor, the lieutenant governor, and the Council
of State were elected in 2016 to four year terms. N.C. State Bd. of Elections & Ethics Enf’t,
11/08/2016 Official General Election Results – Statewide, http://er.ncsbe.gov/?elect
ion_dt=11/08/2016&county_id=0&office=COS&contest=0 (last accessed 6/22/2018); see also
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appellate races there is historical evidence from the 2004 and 2014 elections that without

a primary there is a good chance of cluttered ballots and voter confusion in at least one,

and perhaps several, races, Def. Exh. 17 at 6 and Def. Exh 18 at 16-17, which, as

explained supra, affects the plaintiffs’ associational rights.

       But the evidence at trial shows that these burdens are not onerous. First, § 4(a) of

S.L. 214 does not impair the plaintiffs from supporting or opposing candidates through

alternative means. E.g., Doc. 103 at 51, 84–85. Political parties may hold a convention

or endorse a candidate through other means. Id. at 51, 84, 89. They may also support

candidates in myriad other ways, such as: distributing sample ballots, making phone

calls, canvassing, using social media, or promoting candidates in any other way that

contemporary political parties employ. See id. at 84–88. While an endorsement may not

be as effective as a primary nomination, the evidence shows that a major party’s

endorsement carries some weight in judicial elections. See ¶ 49, supra; compare Def.

Exh. 1, 13 with Def. Exh. 18 at 16–17. Finally, it is also not clear that the lack of a

primary always leads to a cluttered ballot in a race for an appellate judge position. In the

2016 race to fill a court of appeals seat—in which no primary was held—only one

Democrat, one Republican, and one unaffiliated candidate competed for the office. Def.

Exh. 19 at 9; Def. Exh. 21. Although the race was officially nonpartisan, each




N.C. Const., art. III, §§ 2(1), 7(1), 8. The Court also takes judicial notice that neither United
States Senator is up for reelection in 2018. N.C. State Bd. of Elections & Ethics Enf’t, Online
Interactive Election Results, http://www.ncsbe.gov/Election-Results (election results indicating
that Senator Tillis was elected in 2014 and that Senator Burr was reelected in 2016) (last
accessed 6/22/2018); see U.S. Const. art 1, § 3.
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candidate’s party affiliation was listed on the ballot. Def. Exh. 21; supra n. 4. That only

three candidates filed to run suggests that, when party affiliation is included on the ballot,

the political parties may have more ability to affect which candidates run than when

judicial elections were strictly non-partisan. See Def. Exh. 19 at 9; Def. Exh. 21. This

further undermines the plaintiffs’ facial challenge.

       Finally, the plaintiffs have not established “that no set of circumstances exists

under which [§4 of S.L. 214] would be valid.” Wash. State Grange, 552 U.S. at 449. At

the core of their case is the proposition that cancelling primaries impairs the ability of

Democrats to band together to promote candidates who espouse their political views. But

this rests on the assumption that multiple candidates will self-identify as Democrats,

causing ballot clutter and voter confusion that will impair the associational rights of

North Carolina Democrats. They have not, however, shown that this will occur in all

circumstances—i.e., in each or even most of the judicial races. See id. There is no way

to know how many candidates will run for a particular office in advance of the filing

period, Doc. 103 at 61–62, and the historical evidence before the Court is limited to three

appellate races. If only one candidate who has self-identified as a Democrat files to run

for a judicial office, then the situation is essentially identical to a race slated to have a

primary, but for which only one candidate self-identified as a Democrat files to run. In

this situation, there would be no primary, the candidate would go straight to the general

election ballot with a self-identified party label, and the party would have no say in this

process. See N.C. Gen. Stat. § 163A-983 (West, Westlaw through S.L. 2018-2). In such



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a situation, the concerns of the plaintiffs about voter confusion and ballot clutter will not

be realized.

        The evidence that multiple candidates might compete for a single appellate court

seat is insufficient to prevail in a facial challenge. Doc. 103 at 33–34 (Mr. Goodwin

testifying that eight candidates competed for a single supreme court seat in 2004 and that

19 candidates were on the ballot for a single court of appeals seat in 2014). While two

recent races without primaries had multiple candidates, the most recent judicial race

without a primary—which, unlike the earlier two races, listed each candidate’s party

affiliation on the ballot, like the 2018 election will do—suggests that only one candidate

per party might file for a judicial election conducted without a primary. See Def. Exh. 19

at 9; Def. Exh. 21; See Wash. State Grange, 552 U.S. at 449–50 (reminding courts not to

consider “hypothetical or imaginary cases” when evaluating facial challenges to election

laws based on burdens on associational rights).

 V.     CONCLUSION

        Because § 4(a) of S.L. 214 imposes only modest burdens on the plaintiffs’

associational rights, the burdens are imposed neutrally on all political parties, the North

Carolina Democratic Party and its county affiliates remain free to endorse whom they

like, endorse or nominate candidates through non-primary methods, and spread their

message to all who will listen, and the defendants have offered facially legitimate

justifications for these modest burdens, the Court finds that the plaintiffs have not carried

their burden of proof to show that S.L. 214 is unconstitutional on its face. See Wash.

State Grange, 552 U.S. at 452 (observing that “the State’s important regulatory interests

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are generally sufficient to justify reasonable, nondiscriminatory restrictions on election

procedures”). Judgment will be entered for the defendants.

       This the 25th day of June, 2018.




                                           __________________________________
                                            UNITED STATES DISTRICT JUDGE




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